436 F.2d 589
    Aubrey DUNN, Plaintiff-Appellant, Argonaut InsuranceCompany, Intervenor-Appellant,v.CAMERON IRON WORKS, INC. et al., Defendants-Appellees.No. 29530 Summary Calendar.**Rule 18, 5 Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Company of New York et al., 5 Cir. 1970,431 F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    Jan. 18, 1971.
    
      Donald V. Organ, Organ &amp; Pierce, New Orleans, La., for plaintiff-appellant.
      Edward J. Rice, Jr., New Orleans, La., for intervenor.
      Breard Snellings, Richard D. Alvarez, Sessions, Fishman, Rosenson, Snellings &amp; Boisfontaine, New Orleans, La., for defendants-appellees.
      Appeal from the United States District Court for the Eastern District of Louisiana at New Orleans; James, A. Comisky, District Judge.
      Before WISDOM, COLEMAN and SIMPSON, Circuit Judges.
      PER CURIAM:
    
    Affirmed.  See Local Rule 21.1
    
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F.2d 966
      
    
    